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                                                                           United States District Court
                                                                             Southern District of Texas

                    UNITED STATES DISTRICT COURT                                ENTERED
                 FOR THE SOUTHERN DISTRICT OF TEXAS                             June 20, 2018
                           LAREDO DIVISION                                   David J. Bradley, Clerk




UNITED STATES OF AMERICA                  §
                                          §
versus                                    §         Case No. 5:18−po−61802
                                          §
Raquel Eunice Vasquez−Castillo            §


                       ORDER FINDING PROBABLE CASE


      I find that the complaint and/or affidavit(s) filed with the complaint, attested
under oath, establish probable cause to believe that an offense against the laws of the
United States has been committed and that the defendant committed it.
        The defendant therefore may be further detained pending presentment for an
initial appearance before United States Magistrate Judge Diana Song Quiroga on June
20, 2018, at 10:01 AM.
      IT IS SO ORDERED


      SIGNED June 20, 2018.
